                                                         FILED         Wilkes-Barre, PA.
                                                                  April 7, 2022
                                                          Clerk, U.S. Bankruptcy Court




Case 4:21-bk-02613-MJC   Doc 40 Filed 04/07/22 Entered 04/07/22 15:28:16   Desc
                         Main Document     Page 1 of 8
Case 4:21-bk-02613-MJC   Doc 40 Filed 04/07/22 Entered 04/07/22 15:28:16   Desc
                         Main Document     Page 2 of 8
Case 4:21-bk-02613-MJC   Doc 40 Filed 04/07/22 Entered 04/07/22 15:28:16   Desc
                         Main Document     Page 3 of 8
Case 4:21-bk-02613-MJC   Doc 40 Filed 04/07/22 Entered 04/07/22 15:28:16   Desc
                         Main Document     Page 4 of 8
Case 4:21-bk-02613-MJC   Doc 40 Filed 04/07/22 Entered 04/07/22 15:28:16   Desc
                         Main Document     Page 5 of 8
                                               

©Ă    Ăÿæ¿»Ăô¼ IĂI Ă <õ çNïĂ­CöÀ ðĂ Þ>ĂF Ă ¹D>ĂºèĂ÷ Ă392Ă0Ă91.Ă:2¥ Ă
       xĂ 7Ă¡¦ Ă0Ă(Ă Ă¨5 ÍĂ-, OĂ( 5Ă ÎĂÏĂ y7Ă Ă
      zĂ)/Ă: .Ă|¢øĂqĂRĂĂ ù/Ă* 4*£§SĂ 6Ă)4Ă 6Ă
      Õ838ØĂ 1Ă -,¤PĂ}+Ă GĂHþĂ Ă HG³°ĂĂú½Ă<Ă´ÙLĂÌĀÐTĂ
      Á?ä"Ú;ÂáUĂ;EĂ=DÈ?ó\Ă hĂJ"EĂ!Ă¶¬ÑĂ ÛñĂ!éÃĂ"ĂÜĂJ=ÉĂâĂ!Ă
      FÖ ÄĂµĂirĂ]Ă^Ă ûª _Ă+`Ă%tf%ĂêÒ« @Ă ĂKāîĂ¸ÓA·@± BĂ ĂK ¾ëA BaĂ




                                                         MßĂdĂÊÅòVĂ ®üãìĂ
                                                         &u#ĂÔĂX¯ËY$ojnZ~Ă
                                                         sk&e[''Ă
                                                         bCàÆĂlwL      c² Ý




        ývĂ{åíÇ×QĂpWĂmg#$Ă




     Case 4:21-bk-02613-MJC         Doc 40 Filed 04/07/22 Entered 04/07/22 15:28:16                   Desc
                                    Main Document     Page 6 of 8
Case 4:21-bk-02613-MJC   Doc 40 Filed 04/07/22 Entered 04/07/22 15:28:16   Desc
                         Main Document     Page 7 of 8
 From:               web@pamb.uscourts.gov on behalf of PAMB Web
 To:                 PAMBml_fax
 Subject:            EDSS filing from Glen Llewellyn Jenkins for on Thursday, April 7, 2022 - 15:15
 Date:               Thursday, April 7, 2022 3:15:23 PM




 Submitted on Thursday, April 7, 2022 - 15:15
 Submitted by user: Anonymous
 Submitted values are:

 Filer's Name: Glen Llewellyn Jenkins
 Debtor's name (if different):
 Filer's EMail Address: g.jenkins1@yahoo.com
 Filer's Phone Number: 8142225050
 Case number (if known): 4:21-bk-02613-MJC
    ==Documents==
     Document 1:

 http://www.pamb.uscourts.gov/system/files/webform/edss/2022-4-
 6%20Respondent%20Debtor%27s%20Reply%20to%20Motion.pdf
     Document description: 2022-4-6 Respondent Debtor's Reply to
     Motion
       ==More Documents==
        Document 2:
        Document 2 description:
        Document 3:
        Document 3 description:
        Document 4:
        Document 4 description:
        Document 5:
        Document 5 description:




 By entering my name in the box below, I affirm that I am intending to sign
 this form with my signature and consent to use this electronic form.: Glen L
 Jenkins




Case 4:21-bk-02613-MJC                  Doc 40 Filed 04/07/22 Entered 04/07/22 15:28:16               Desc
                                        Main Document     Page 8 of 8
